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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

VOIP-PAL.COM, INC.

vs.                                                 Case No.: 6:21-cv-00667-ADA
Google LLC


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Grayson S. Cornwell                                       , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Google LLC                                        in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Paul Hastings LLP                                         with offices at:

               Mailing address: 71 South Wacker Drive, Suite 4500

               City, State, Zip Code: Chicago, IL 60606

               Telephone: (312) 499-6000                    Facsimile: (312) 499-6100


       2.      Since      November 10, 2021                   , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Illinois                     .

               Applicant's bar license number is 6338845                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               Illinois                                     11/10/2021
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):

       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):

       N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Paige Arnette Amstutz with Scott Douglass & McConnico LLP

                 Mailing address: 303 Colorado Street, Suite 2400

                 City, State, Zip Code: Austin, TX 78701

                 Telephone: (512) 495-6300


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Grayson S. Cornwell                       to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Grayson S. Cornwell
                                                       [printed name of Applicant]


                                                       [signature
                                                         ignature of Applicant]
                                                                     Appli


                                     CERTIFICATE OF SERVICE
          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 3rd day of December, 2021.                       .

                                                        Grayson S. Cornwell
                                                       [printed name of Applicant]


                                                       [signature
                                                          gnature of Applicant]
                                                                     Appli
                  Case 6:21-cv-00667-ADA Document 31 Filed 12/03/21 Page 4 of 4

                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 WACO DIVISION


VOIP-PAL.COM, INC.

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Google LLC



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 Grayson S. Cornwell                                                                      Google LLC
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                                                                            UNITED STATES DISTRICT JUDGE
